8 F.3d 820
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Cornelius TUCKER, Jr., Plaintiff-Appellant,v.Custodian HART, Defendant-Appellee.
    No. 93-6888.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 27, 1993.Decided:  October 28, 1993.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.
      Cornelius Tucker, Jr., Appellant Pro Se.
      E.D.N.C.
      DISMISSED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant noted this appeal in an action under active consideration in the district court.  We dismiss the appeal for lack of jurisdiction because Appellant has identified no appealable order, and none appears in the record.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.  R. Civ. P. 54(b);   Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    